EXHIBIT I
         GOVERNOR JINDAL ANNOUNCES $83 MILLION IN PAYMENTS TO
                             HOSPITALS
                                                 States News Service
                                               March 29, 2011 Tuesday


Copyright 2011 States News Service

Length: 1137 words
Byline: States News Service
Dateline: BATON ROUGE, La.

Body


The following information was released by the office of the governor of Louisiana:

Today, Governor Bobby Jindal joined Department of Health and Hospitals Secretary Bruce D. Greenstein, State
Sen. David Heitmeier, Louisiana Hospital Association President John Matessino, Womans Hospital CEO Teri
Fontenot and other hospital leaders to announce the most extensive collaboration and largest payment to date in
the states new Low-Income and Needy Care Collaboration Agreement (LINCCA) program, with $83 million going to
27 private hospitals and savings of millions for local and state public hospitals.

LINCCA agreements between private hospitals and public state and local hospitals and hospital districts allow
private hospitals to take on services for low-income and needy patients with federal funds, which frees up local and
state funding. The money can be used to maximize available federal matching funds through the Upper Payment
Limit (UPL) program in Medicaid or to help fund the Medicaid program. In December of last year, DHH made the
first set of UPL payments totaling $27 million to 16 hospitals. Todays event highlights the second round of
payments made under the program, which was approved by the Centers for Medicare and Medicaid Services in
November.

Governor Jindal said, We know we must rethink how government works and must be innovative in our approaches.
This program is the definition of innovation at work in our health care system. While other states are slashing
hospital funding in reaction to the national crisis in Medicaid, were here today giving hospitals $83 million in funding
while ensuring increased and continued access to care because we understand that you can really do more with
less when you work smarter and collaborate between the public and private sectors.

Under the LINCCA program, a public entity, such as a local public hospital district, an LSU hospital or even DHH,
partners with a private entity to take over the costs of providing services to low income and needy patients. Those
collaborations can include paying for physician services at an LSU Hospital emergency room that cares for low
income and needy patients or behavioral health services provided through the DHH Office of Behavioral Health.
This saves dollars for the public entity while also ensuring continued and improved access to care for the uninsured
and Medicaid patients. The proposed executive budget for FY 2012, for example, includes $30 million in savings for
LSU Hospitals and $5.3 million in savings for DHH.

The Governor also announced today that the state has developed a supplemental UPL program for physicians,
which will make its first set of payments totaling about $2.8 million this week. Under this program, physicians who
are employed by or contract with public hospitals not owned by the state are eligible for UPL supplemental
physician payments. Supplemental payments will be the difference between the average commercial rate and the
Medicaid rate, in addition to the usual Medicaid paymentessentially allowing payment for a Medicaid patient to
                                                                                                          Page 2 of 2
                GOVERNOR JINDAL ANNOUNCES $83 MILLION IN PAYMENTS TO HOSPITALS

equal the average commercial rate. DHH estimates that about $10 to $15 million could be paid out through this
program annually.

DHH Secretary Greenstein said, We have spent the past six months building and strengthening a collaborative
environment between our private and public health care sectors. Todays announcement is a testament to how far
weve come. Because of this collaboration, were standing here announcing payments instead of rate cuts, and
improved and continued access to services instead of reductions to services.

State Sen. David R. Heitmeier, O.D., said, Finding solutions to our state's health care challenges has been a priority
of mine since taking office. The policies we have implemented will bring hospitals in our state hundreds of millions
of federal dollars in coming years without any additional tax burden to our citizens. When I suggested the plan
allowing the state to leverage these federal dollars, it was truly a team effort in getting it done. I was supported by
my colleagues in the legislature, Governor Jindal, and the Louisiana Department of Health and Hospitals where
much hard work took place to implement the programs. What makes this truly a win-win for the state is the fact that
public-owned hospitals are working in collaboration with private-owned hospitals, so all are benefiting. Our hospitals
across the state have been suffering financially since Hurricane Katrina. We got them to work together for
everyone's financial benefit which keeps our medical infrastructure strong and makes Louisiana a better state for
our citizens.

John Matessino, LHA President and CEO, said, It is imperative that hospitals have the resources they need to
provide life-saving services in every community. This program will help provide those resources, which are crucial
for our community hospitals to thrive and survive during these tough economic times. The funding will help offset a
portion of the almost $230 million in Medicaid and DSH cuts that hospitals have received over the past two years.
We appreciate the opportunity we have had to work with the governor, his administration and DHH on this program,
and our association is proud to be a part of our states healthcare solution.

Teri Fontenot, Womans President and CEO, said, Woman's is pleased to have the opportunity to help expand care
to Louisiana's low income and needy patients. Thanks to this innovative program, Woman's is becoming better
positioned to improve the lives of women and infants by enhancing access to quality care and services, which is
desperately needed throughout our state. This program will ensure that needed programs are available to
Louisiana's most vulnerable patients.

Pat Quinlan, CEO of Ochsner Health Systems, said, We must deal with the financial crisis our state is facing, like so
many states. I'm grateful that in Louisiana we have found a solution that enables hospitals to continue to provide
high quality care in spite of our difficult budget reality. Approved by the federal government, our care collaborative is
the result of true partnership between Louisiana's hospitals, Governor Jindal, Secretary Greenstein, Senator
Heitmeier and a host of other committed health care leaders."

Fred Cerise, MD, LSU System Vice President for Health Affairs, said These collaboratives represent an
unprecedented approach to partnering with the private sector in delivering quality health care to our most vulnerable
populations. LSU is proud to be a part of this effort that ensures continued and improved access to health care for
the people we serve. With the loss of federal dollars weve seen, this initiative allows us to mitigate reductions that
would negatively impact the many Louisiana residents who rely on us for care.


Load-Date: March 29, 2011


  End of Document
